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UN|TED STATES DlSTRlCT COURT
lVllDDLE DlSTRlCT OF FLOR|DA
JACKSONV|LLE DlVlSlON
UN|TED STATES OF Al\/lERlCA
v. Case No. 3:15-mj-1170-J-JRK

JOSHUA RYNE GOLDBERG

WA|VER OF RlGHT TO BE IND|CTED WlTHlN 30 DAYS OF ARREST

 

l, JOSHUA RYNE`GO'LDBER'G, the defendant in the above-captioned case, who
is accused in a criminal complaint of distribution of information relating to explosives,
destructive devices, and weapons of mass destruction, in violation of Title 18, United
States Code, Section 842(p), pursuant to Title 18, United States Code, Section 3161(2),
hereby waives any right that l may have to be indicted within thirty days from the date of
my arrest. l have consulted with my attorney regarding my rights and l am executing this
waiver with full knowledge of my rights l have not been pressured, threatened, or

coerced into executing this waiver and l do so freely and voluntarily.

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l HEREBY waive (give up) any right that l may have to be indicted within thirty
days from the date on my arrest.

“'%W @`\@U/H@/Wnate Mayfi; 2017

PAUL A. sH'oRsTElN
Attorney for Defendant

 

 

Approved by Court:

 

JAl\/lES R. KL|NDT
United States l\/lagistrate Judge

